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   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
   ------------------------------------------------------x
   ROBERT BARTLETT, et al.,
                              Plaintiffs,
                                                                      NOT FOR PUBLICATION
            -against-                                                 MEMORANDUM & ORDER
                                                                      19-cv-00007 (CBA) (TAM)
   SOCIÉTÉ GÉNÉRALE DE BANQUE AU
   LIBAN SAL, et al.,

                              Defendants.
   ------------------------------------------------------x
  AMON, United States District Judge:

                                                   SUMMARY

          This action relates to American nationals who were killed or injured by terrorist attacks

  abroad (“Attack Victims”). Plaintiffs, who are the Attack Victims themselves or their heirs or

  successors, brought this action against twelve banking institutions, seeking damages pursuant to

  the Anti-Terrorism Act (“ATA”), 18 U.S.C. § 2333, as amended by the Justice Against Sponsors

  of Terrorism Act (“JASTA”), Pub. L. No. 114-222, 130 Stat. 852 (2016). I previously granted a

  motion to dismiss Plaintiffs’ claims of primary liability and successor liability but denied

  Defendants’ motion to dismiss for lack of personal jurisdiction and for failing to state a claim of

  aiding-and-abetting liability under the ATA. Defendants now move to dismiss all claims in

  Plaintiffs’ Third Amended Complaint pursuant to Federal Rule of Civil Procedure 12(b)(6) for

  failure to state a claim and renew their arguments that this Court lacks personal jurisdiction under

  Rule 12(b)(2). For the following reasons, I grant Defendants motion as to primary and successor

  liability and deny the motion as to personal jurisdiction and aiding-and-abetting liability.

                                                BACKGROUND

          I assume the parties’ familiarity with the facts, which are set forth more fully in the

  Memorandum and Order denying the previous motion to dismiss. (See ECF Docket Entry (“D.E.”)

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  # 164 (“M&O 1”).) In short, the Attack Victims are United States service members who were

  allegedly injured in a series of terror attacks perpetrated by Hezbollah in Iraq between 2004 and

  2011.   Defendants are Lebanese banks that Plaintiffs allege provided financial services to

  Hezbollah and Hezbollah affiliates. Hezbollah is an entity dedicated to religiously inspired

  terrorism, and in 1997 was designated by the United States as a Foreign Terrorist Organization

  (“FTO”). Plaintiffs allege that Defendants knowingly provided Hezbollah with financial services,

  including access to the U.S. financial system through correspondent bank accounts in New York,

  and facilitated Hezbollah’s terrorist attacks by enabling the organization’s operational funding.

  (See id. 2-8.) They allege that Defendants channeled millions of dollars to Hezbollah in part via

  accounts owned by Hezbollah-affiliated Specially Designated Global Terrorist (“SDGT”)

  organizations, including Hezbollah’s umbrella organizations the Islamic Resistance Support

  Organization (“IRSO”) and the Martyrs Foundation-Lebanon. (Id. 3-5.) The provision of funds

  in many cases required evasion of counter-terrorism sanctions. (E.g., D.E. # 360 (“Third Amended

  Complaint” or “TAC”) ¶¶ 469, 647, 1770, 1839, 1884.) At least one of the Defendants itself was

  designated an SDGT due to its coordination with Hezbollah during the relevant time period.

  (M&O 1 at 6.)

          On November 25, 2020, I granted in part and denied in part Defendants’ motion to dismiss

  Plaintiffs’ First Amended Complaint. (Id. 1.) I subsequently denied Defendants’ second motion

  to dismiss the Second Amended Complaint which was renewed based on new case law from the

  Second Circuit. (D.E. # 291 (“M&O 2”).)

          On June 22, 2023, Defendants sought leave to file a motion for reconsideration in light of

  the Supreme Court’s ruling in Twitter v. Taamneh, 598 U.S. 471, 484-93 (2023). (D.E. # 330.) At

  a conference held on August 22, 2023, I granted Plaintiffs leave to again amend their complaint to



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  incorporate material obtained during discovery since the Second Amended Complaint and for

  Defendants to move to dismiss the newly amended complaint. (Text order dated August 22, 2023.)

           Plaintiffs filed their Third Amended Complaint on November 7, 2023. (TAC.) The TAC

  includes details of transactions Defendants facilitated for Hezbollah-affiliated persons and

  organizations both during and after the relevant period. (See, e.g., id. ¶¶ 1865-79.) It also includes

  additional allegations to bolster the allegation that Defendants were aware they were funding

  terrorist activities. (See, e.g., id. ¶¶ 2132, 2177.) The TAC further added history on the Lebanese

  economy and allegations about account holders and Defendants’ misconduct that post-date the

  attacks. (See, e.g., id. ¶¶ 189, 647, 1829, 2136.) Defendants 1 filed this motion to dismiss on March

  15, 2024 (D.E. # 377 (“MTD”)), which Plaintiffs opposed (D.E. # 381).

                                            STANDARD OF REVIEW

           Federal Rule of Civil Procedure 12(b)(6) provides for dismissal of a complaint that “fail[s]

  to state a claim upon which relief can be granted.” A complaint will be dismissed unless the

  plaintiff states a claim that is “‘plausible on its face’” by alleging sufficient facts for “the court to

  draw the reasonable inference that the defendant is liable for the misconduct alleged.” Ashcroft v.

  Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)).

  A court must dismiss a claim if the “well-pleaded facts do not permit the court to infer more than

  the mere possibility of misconduct.” Id. at 679. Although courts will not credit “conclusory


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              The bank Defendants in this matter filed the instant motion to dismiss with the exception of Jammal Trust
  Bank SAL (“JTB”). (MTD 2 n.1.) JTB had initially moved to dismiss this suit on the ground that it possessed foreign
  sovereign immunity under 28 U.S.C. § 1604. I denied JTB’s motion (D.E. # 221), which JTB appealed to the Second
  Circuit. The Second Circuit vacated my opinion, finding that immunity may attach when a defendant becomes an
  instrumentality of a foreign sovereign after a suit is filed, and remanded for a determination of whether JTB is such
  an instrumentality. Bartlett v. Baasiri, 81 F.4th 28 (2d Cir. 2023). Briefing on that issue was stayed pending certiorari
  review, (see Text entry dated Nov. 6, 2023), and the Supreme Court denied Plaintiffs’ petition for certiorari on April
  29, 2024. 144 S. Ct. 1456 (Mem.). Because this issue is on a separate schedule from the non-JTB Defendants’ instant
  motion to dismiss, and because JTB did not join in the instant motion to dismiss, I do not decide at this point whether
  Plaintiffs’ case as to JTB can proceed. For ease of reference, however, I will refer to the moving defendants listed in
  note 1 to their MTD as “Defendants,” even though JTB is not included.

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  statements” or “[t]hreadbare recitals of the elements of a cause of action,” id. at 678, the court must

  accept as true all material factual allegations and draw all reasonable inferences in the plaintiff’s

  favor, Johnson v. Priceline.com, Inc., 711 F.3d 271, 275 (2d Cir. 2013).

          Federal Rule of Civil Procedure 12(b)(2) provides for dismissal of a complaint for “lack of

  personal jurisdiction.” The plaintiff has the burden of demonstrating personal jurisdiction. Troma

  Ent., Inc. v. Centennial Pictures Inc., 729 F.3d 215, 217 (2d Cir. 2013). “[W]hen the issue is

  decided initially on the pleadings and without discovery, the plaintiff need show only a prima

  facie case” of personal jurisdiction. Volkswagenwerk Aktiengesellschaft v. Beech Aircraft Corp.,

  751 F.2d 117, 120 (2d Cir. 1984). In deciding whether the plaintiff has made such a showing, the

  pleadings must be viewed in the light most favorable to the plaintiff, with all doubts resolved in

  its favor. DiStefano v. Carozzi N. Am., Inc., 286 F.3d 81, 84 (2d Cir. 2001).

                                             DISCUSSION

     I.      Personal Jurisdiction

          I previously held that Plaintiffs’ first amended complaint “plausibly alleges frequent and

  deliberate use of New York-based correspondent accounts to facilitate the Hezbollah financing

  which led to Plaintiffs’ injuries” in satisfaction of N.Y. C.P.L.R. § 302(a)(1), and that “Defendants’

  select and repeated use of the New York banking system as an instrument to effect the wrongs of

  which Plaintiffs complain permits personal jurisdiction here consistent with constitutional due

  process.” (M&O 1 at 44, 46.) I made this determination based on the governing law in Licci ex

  rel. Licci v. Lebanese Canadian Bank, SAL, 732 F.3d 161 (2d Cir. 2013), and accompanying case

  law. Defendants now argue that Taamneh requires me to review this determination of personal

  jurisdiction. (MTD at 46.) In Taamneh, the parties did not brief the issue, and the Supreme Court

  made no finding, or even mention, of personal jurisdiction. See generally Taamneh, 598 U.S. 471.



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  Defendants read into Taamneh as a requirement of personal jurisdiction “the need to connect a

  defendant’s conduct with the act of international terrorism that injured the plaintiff—not merely

  to connect a commercial actor (through customers) to a terrorist group.” (MTD at 46.) I decline

  to read Taamneh’s finding on aiding-and-abetting liability as changing the law on personal

  jurisdiction. I therefore decline to alter my prior finding of personal jurisdiction over the

  Defendants here. (See M&O 1 at 14.)

     II.      Aiding-and-Abetting Liability under JASTA

           The Defendants argue that the reasoning of the Supreme Court’s decision in Taamneh

  requires dismissal of the aiding-and-abetting claim in this action. (MTD at 23.) The ATA, through

  JASTA, provides for secondary liability against “any person who aids and abets, by knowingly

  providing substantial assistance” to “an act of international terrorism.” 18 U.S.C. § 2333(d)(2);

  Pub. L. No. 114-222, § 4(a), 130 Stat. 852, 854 (2016) (Amendment). To state a claim for JASTA

  aiding and abetting, Plaintiffs must plead three statutory elements: “(1) an injury arising from an

  act of international terrorism; (2) that the act was committed, planned, or authorized by a

  designated Foreign Terrorist Organization; and (3) that defendants aided or abetted an act of

  international terrorism by knowingly providing substantial assistance.” Atchley v. AstraZeneca

  UK Ltd., 22 F.4th 204, 216 (D.C. Cir. 2022). Defendants do not dispute that the Attack Victims

  were injured by an act of international terrorism or that the alleged conduct constitutes attacks

  committed, planned, or authorized by a designated FTO. (MTD at 23.) Defendants argue that

  Plaintiffs’ TAC fails to meet the standards recently articulated in Taamneh on the knowing and

  substantial assistance element. (Id.)

     A. Knowing and Substantial Assistance: Legal Standard




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          The proper framework for determining aiding-and-abetting liability under JASTA remains

  the decision of the U.S. Court of Appeals for the D.C. Circuit in Halberstam v. Welch, 705 F.2d

  472 (D.C. Cir. 1983). 18 U.S.C. § 2333 Statutory Note (Findings and Purpose § 2(a)(5)).

  Halberstam identifies three elements of aiding-and-abetting liability: “(1) the party whom the

  defendant aids must perform a wrongful act that causes an injury; (2) the defendant must be

  generally aware of his role as part of an overall illegal or tortious activity at the time that he

  provides the assistance; (3) the defendant must knowingly and substantially assist the principal

  violation.” 705 F.2d at 477. Defendants claim the Third Amended Complaint fails to sufficiently

  allege facts supporting the second and third elements.

              a. General Awareness

          The general awareness element of aiding-and-abetting liability requires “the secondary

  actor to be aware that, by assisting the principal, it is itself assuming a role in terrorist activities.”

  Linde v. Arab Bank, PLC, 882 F.3d 314, 329 (2d Cir. 2018) (internal quotation marks omitted)

  (citing Halberstam, 705 F.2d at 477). I previously found that Plaintiffs met the general awareness

  standard under Halberstam. (M&O 1 at 24-25.) Defendants argue that Plaintiffs have failed to

  show general awareness, but they do not articulate how Taamneh altered the analysis, merely citing

  the Court’s admonition that aiding and abetting “has never been boundless.” (MTD at 38-39

  (quoting 598 U.S. at 488).) The Court in Taamneh provided the same recitation of the general

  awareness standard as the Second Circuit: “the defendant must be generally aware of his role as

  part of an overall illegal or tortious activity.” 598 U.S. at 486 (citing Halberstam, 705 F.2d at 477).

  Since there has been no change in the caselaw on this inquiry, I decline to reconsider my prior

  ruling that Plaintiffs met the general awareness prong.

              b. Knowing and Substantial Assistance: Framework after Twitter v. Taamneh



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         Aiding-and-abetting liability requires that Defendants “knowingly and substantially

  assist[ed] the principal violation.” Halberstam, 705 F.2d at 477. In Taamneh, the Supreme Court

  clarified the pleading standard for knowing and substantial assistance under JASTA. 598 U.S. at

  484-93. Plaintiffs in Taamneh were victims of the ISIS terrorist attack at the Reina nightclub in

  Istanbul who brought JASTA aiding-and-abetting claims against Twitter, Google, and Facebook.

  Id. at 479. The plaintiffs alleged that the three companies were liable for failing to stop ISIS from

  using their platforms to post recruiting and propaganda videos and that Google, through its

  operation of YouTube, was liable because it “reviewed and approved ISIS videos on YouTube as

  part of its revenue-sharing system and thereby shared advertising revenue with ISIS.” Id. at 498,

  505. The Court held that neither theory stated a claim for aiding-and-abetting liability. Id. at 505-

  07. Most notably, the Court cautioned lower courts from “hew[ing] [too] tightly to the precise

  formulations” and facts in Halberstam when assessing aiding-and-abetting liability, id. at 493, and

  instead to focus on the “conceptual core” of Halberstam’s elements to assess “that the defendant

  consciously and culpably ‘participate[d]’ in a wrongful act,” id. (quoting Nye & Nissen v. United

  States, 336 U.S. 613, 619 (1949)). Although the Court did not define “culpable,” it distinguished

  instances of “passive nonfeasance” from culpable conduct, suggesting that giving a terrorist group

  “special treatment or words of encouragement,” or “providing . . . routine services . . . in an unusual

  way” would suffice. Id. at 498-502. The Taamneh Court also advised lower courts to consider the

  attenuation or nexus between a defendant’s assistance and the act of international terrorism.

  Although “direct nexus” is not required, “the more attenuated the nexus, the more courts should

  demand that plaintiffs show culpable participation through intentional aid that substantially

  furthered the tort.” Id. at 506. The Court concluded that Defendants “who aid and abet a tort can




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  be held liable for other torts that were ‘a foreseeable risk’ of the intended tort.” Id. at 496 (quoting

  Halberstam, 705 F.2d at 488).

     B. Knowing and Substantial Assistance: Application to Defendants

             a. Conscious and Culpable Assistance

         The key question is whether Plaintiffs have alleged conscious and culpable participation in

  acts of terrorism. The Court in Taamneh advised that this determination involves a balancing act,

  considering “the nature and amount of assistance on the one hand, and the defendant’s scienter on

  the other.” Id. at 492-93. That is, “less substantial assistance require[s] more scienter before a

  court could infer conscious and culpable assistance,” whereas “if the assistance were direct and

  extraordinary, then a court might more readily infer conscious participation in the underlying tort.”

  Id. at 492. I applied Taamneh in a recent case before me in which plaintiffs were a group of

  American citizens killed or injured by terrorist attacks in Iraq and Afghanistan who brought claims

  against several telecommunications companies alleged to have aided and abetted the terrorist

  attacks. Zobay v. MTN Grp. Ltd., 695 F. Supp. 3d 301, 301 (E.D.N.Y. 2023). A set of defendants

  allegedly spearheaded procurement efforts for embargoed dual-use technologies that assisted

  terrorist campaigns, in addition to facilitating a steady flow of funds to terrorist organizations. Id.

  at 346. I found these acts distinguishable from the “passive nonfeasance” in Taamneh, namely

  failing to remove terrorist organizations from their existing social media platforms. Compare id.

  with Taamneh, 598 U.S. at 500. The relevant defendants in Zobay also had knowledge that the

  entities they serviced were affiliated with terrorists and continued to partner with, and financially

  profit from, them, making the assistance conscious as well as culpable. 695 F. Supp. 3d at 346.

         The analysis of culpability begins by “recall[ing] the basic ways” that Defendants allegedly

  assisted Hezbollah. Taamneh, 598 U.S. at 498. As previously discussed at length in M&O 1, the



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  allegations against Defendants amount to “affirmative misconduct”—in short, knowingly

  laundering and investing vast amounts of money for Hezbollah—as opposed to mere “passive

  nonfeasance.” (Compare M&O 1 at 28 with Taamneh, 598 U.S. at 500.) Defendants’ active

  provision of banking services is more analogous to the telecommunications equipment and

  services in Zobay than the passive access to platforms provided in Taamneh. 2

          Defendants argue that their conduct cannot amount to knowing and substantial assistance

  because they provided “routine commercial banking services that are generally available to any

  bank customer.” (MTD at 6.) Although the Court in Taamneh found that defendants’ platforms

  offered nothing more than generally available and routine services available to any member of the

  public, the Court acknowledged that “[t]here may be . . . situations where the provider of routine

  services does so in an unusual way or provides such dangerous wares that selling those goods to a

  terrorist group could constitute aiding and abetting a foreseeable terror attack.” Taamneh, 598

  U.S. at 502. In Zobay, a defendant claimed that its telecommunication services were part of its

  routine services, but plaintiffs alleged that defendant engaged in intentional evasion of U.S.

  sanctions and that the second floor of defendant’s Iran offices was “populated by military

  intelligence officials.” 695 F. Supp. 3d at 346. I found it foreseeable based on these “unusual

  business arrangements that goods and funds would flow to proxy groups and that acts of terror

  would result.” Id. Here, although the services themselves do appear to be routine—maintaining

  accounts and transferring funds—I find, similar to Zobay, that the “who” and “how” of the services

  to those clients are pertinent. Plaintiffs allege that Defendants were facilitating millions of dollars

  in transactions to organizations whose only objectives were to support terrorism. (See, e.g., TAC



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             When there is “mere passive nonfeasance” alleged, the Court in Taamneh decided that “a strong showing
  of assistance and scienter would [] be required.” 598 U.S. at 500. Since I do not find mere passive nonfeasance, I
  will not conduct this inquiry.

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 ¶¶ 1700, 1831, 1986, 2090.) Further, according to the TAC, Defendants had Hezbollah liaisons

 within their institutions who facilitated the transactions for those terrorist affiliates. (Id. ¶¶ 1727,

 1769, 1891, 1983, 2046, 2083, 2089, 2131, 2153, 6103.) As in Zobay, the active management of

 these accounts made it foreseeable based on the unusual client relationship that the funds handled

 by the banks supported terrorist activities. Compare Zobay, 695 F. Supp. 3d at 346 (Defendant

 had an agreement that “mandates that [defendant] cooperate with the Iranian shareholders”

 allegedly linked to the IRGC) with Taamneh, 598 U.S. at 499 (“Once the platform and sorting-tool

 algorithms were up and running, defendants at most allegedly stood back and watched; they are

 not alleged to have taken any further action with respect to ISIS.”) Plaintiffs, therefore, have

 sufficiently alleged that Defendants consciously and culpably aided and abetted the terrorist acts.

     b. Nexus

         Defendants also argue that Plaintiffs have not alleged a sufficient nexus because they fail

 to show that Defendants assisted “the relevant terrorist act itself,” rather than aided terrorist

 “activities in general,” comparing the nexus here to the one rejected in Taamneh. (MTD at 32.)

 As an initial matter, the Court in Taamneh was clear that there need not always be a “strict nexus

 between the alleged assistance and the terrorist act.” 598 U.S. at 497. A close nexus to the specific

 act may be found, but “even more remote support can still constitute aiding and abetting in the

 right case.” Id. at 496. As an example of what might be the “right case,” the Court noted that

 “[t]here may be . . . situations where the provider of routine services does so in an unusual way”

 which would ground an inference that the defendant’s help “constitute[d] aiding and abetting a

 foreseeable terrorist attack,” or where plaintiffs allege “pervasive, systematic, and culpable

 assistance to a series of terrorist activities that could be described as aiding and abetting each

 terrorist attack.” Id. at 502.



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        Plaintiffs’ allegations plausibly meet both of these scenarios. Taking them in turn, I note

 Defendants allegedly opened and serviced accounts for individuals and organizations known to be

 linked to Hezbollah. (See, e.g., TAC ¶ 1784.) They also employed managers who “served as key

 facilitators and coordinators for Hezbollah” within their banking departments. (E.g., id. ¶¶ 1983,

 2046, 2083.) And the Defendants made efforts to help Hezbollah hide funds from American

 sanctions. (See, e.g., id. ¶¶ 1697, 1825-26, 1882.) The bespoke servicing of a bank account,

 including the facilitation of payment transfers, evasion of counter-terrorism sanctions, and the

 appointing of a liaison within the banks to facilitate the relationship with those accounts linked to

 terrorism, points to a relationship that is less attenuated than what plaintiffs alleged in Taamneh.

 In short, according to the TAC, Defendants provided usual services (banking) in a highly unusual

 way, necessitated by their customers’ links with Hezbollah.          Plaintiffs’ allegations that the

 customers were known Hezbollah affiliates support the inference that Defendants’ provision of

 banking services foreseeably contributed to Hezbollah’s terrorist acts. This satisfies the first “right

 case” in Taamneh. 598 U.S. at 502 (citing Direct Sales Co. v. United States, 319 U.S. 703 (1943),

 where a morphine distributor was held liable for a customer’s illicit morphine operation when its

 distribution was tailored to the customer’s unique purpose).

        Plaintiffs have also alleged Defendants provided such systematic and pervasive assistance

 to justify liability for every Hezbollah terrorist attack. Defendants have allegedly provided

 Hezbollah with pervasive, substantial assistance constituting hundreds of millions of dollars of

 funding and crucial access to Lebanese and international financial networks through Hezbollah’s

 proxies. (E.g., TAC ¶¶ 132, 556, 587, 791, 850, 1270-72, 1621, 1699, 1965.) Most directly,

 Defendants provided funds to IRSO, whose “mission is to provide Hezbollah with a ‘kind of

 financial and material support.’”      (Id. ¶ 424 (quoting Hezbollah Secretary-General Hassan



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 Nasrallah).) The IRSO’s fundraising efforts are “earmarked primarily for the purchase of weapons

 for Hezbollah terrorist-operations.” (Id. ¶ 425.) The U.S. Department of the Treasury listed IRSO

 as an SDGT for precisely this reason. (Id. ¶¶ 436-42.) The other SDGT customers were designated

 for their connections with Hezbollah, and it is well-recognized that terrorist organizations operate

 through affiliates and front groups such that aid to the front group is effectively aid to the terrorist

 organization. (M&O 1 at 20 n.7 (citing United States v. El-Mezain, 664 F.3d 467, 489 (5th Cir.

 2011) and Strauss v. Credit Lyonnais, S.A., 925 F. Supp. 2d 414, 434-35, 442 (E.D.N.Y. 2013)).)

 The amount and directness of Defendants’ aid to Hezbollah and its proxies alleged in the TAC

 allow the reasonable inference that Defendants financially facilitated each and every Hezbollah-

 trained terrorist attack. Taamneh, 598 U.S. at 502. Defendants are alleged to have ensured

 Hezbollah’s long-term access to critical funds supporting its terrorist activities while knowing that

 funds provided to IRSO and other customers were largely earmarked to supporting those terrorist

 activities. Plaintiffs have therefore alleged Defendants’ funding played a sufficiently pervasive

 and systematic role in Hezbollah-supported terrorist activities to hold Defendants liable for every

 Hezbollah-supported attack under JASTA. See Zobay, 695 F. Supp. 3d at 348.

     c. Halberstam Factors

         Finally, as I discussed thoroughly in my prior M&O denying Defendants’ motion to dismiss

 the aiding-and-abetting claims, the six substantiality factors from Halberstam also weigh against

 dismissal of Plaintiffs’ aiding-and-abetting claim.         Defendants claim incorrectly that the

 Halberstam factors are “now obsolete” after Taamneh. (MTD at 26.) The Taamneh Court still

 engaged with the Halberstam factors but clarified that the six factors should not be regarded “as a

 sequence of disparate, unrelated considerations without a common conceptual core”; instead, the

 factors are meant to “capture the essence of aiding and abetting: participation in another’s



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 wrongdoing that is both significant and culpable enough to justify attributing the principal

 wrongdoing to the aider and abettor.” 598 U.S. at 504. There, the lower court had erred by

 “focusing . . . primarily on the value of defendants’ platforms to ISIS, rather than whether

 defendants culpably associated themselves with ISIS’ actions.” Id. (emphasis in original). Thus,

 although a terrorist venture would undeniably benefit from long-term infusions of capital, the

 precise question is instead whether the terrorists’ ability to benefit from the financial institutions

 is properly “attributable to any culpable conduct of defendants directed toward” them. Id.

 Focusing on the conceptual core of aiding-and-abetting liability, these factors, for many of the

 reasons already discussed, point to significant and culpable action by Defendants.

         I find that my prior analysis of the Halberstam factors supports a finding of aiding-and-

 abetting liability here. The six factors are: (1) nature of the act; (2) amount and kind of assistance;

 (3) presence at the time of the tort; (4) relation to the tortfeasor; (5) state of mind; and (6) duration

 of assistance. Halberstam, 705 F.2d at 483–84.

         The first factor, nature of the act, “dictates what aid might matter, i.e., be substantial” to

 the terrorist attacks. Id. at 484. As discussed at length in M&O 1, Hezbollah’s terrorist activities

 are capital-intensive, and given the global sanctions regime, require banks to provide specialized

 treatment to facilitate the transfer of funds. Defendants’ provision of that service, to the tune of

 hundreds of millions of dollars, suffices as “substantial.” Likewise, the second Halberstam factor,

 the “amount” of assistance, is easily satisfied. (See M&O 1 at 28.)

         As explained in my first M&O, the third and fourth Halberstam factors do not weigh

 strongly in my calculus because, given the nature of terrorist attacks, it would be unreasonable for

 banks to be present and active in the attacks themselves. (Id. at 28-29.) The fifth and sixth

 Halberstam factors weigh in favor of liability here.          Plaintiffs have plausibly alleged that



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 Defendants were active business partners channeling funds to Hezbollah, raising the inference that

 Defendants intended to assist Hezbollah’s activities which are chiefly to engage in terror. (See id.

 at 29.) Plaintiffs also allege that Defendants provided banking services to the alleged customers

 from at least 2004 to 2011, with certain Defendants providing services to the alleged customers as

 far back as 1986. (TAC ¶ 420.) Moreover, the Complaint alleges that Defendants continued to

 provide services to customers even after they knew those entities had been designated SDGT

 groups. (E.g., id. ¶¶ 646, 1825.) As in Atchley, “[t]he allegations do not describe a one-off

 transaction by a firm unfamiliar with its counterparty, but a set of enduring, carefully cultivated

 relationships consisting of scores of transactions over a period of years.” 3 22 F.4th at 224. This

 factor weighs in favor of finding substantial assistance.

            In sum, the Halberstam factors—particularly the first, second, and sixth factors—support

 a plausible inference of substantial assistance.

     III.      Primary and Successor Liability

            I previously dismissed Plaintiffs’ primary liability claims (M&O 1 at 49), and decline to

 revisit that decision. Plaintiffs have preserved these claims for appeal.

            I also dismissed Plaintiffs’ successor liability claim against Société Générale de Banque au

 Liban SAL (“SGBL”) because I found a lack of jurisdiction over SGBL as LCB’s successor (as

 opposed to SGBL’s own actions). On April 18, 2024, the New York Court of Appeals ruled that,

 “where an entity acquires all of another entity’s liabilities and assets, but does not merge with that

 entity, it inherits the acquired entity’s status for purposes of specific personal jurisdiction.”




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            Defendants filed a notice of supplemental authority on June 26, 2024 providing me with the Supreme
 Court’s grant of certiorari, vacatur, and remand (the “GVR”) of the D.C. Circuit’s decision in Atchley. (D.E. # 415.)
 The Supreme Court did not rule on the merits of Atchley and instead remanded for further consideration in light of
 Taamneh. Defendants further urge me to consider the GVR in connection with the Solicitor General’s amicus brief
 in Atchley (id.), but the amicus brief is not “authority.”

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                                              s/Carol Bagley Amon
